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                      Exhibit 4
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                                         Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates   Author                  Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

16              Maggie Wilderotter      Don Liebentritt, Esq.                          8/8/10          Email regarding legal advice      Attorney Client
                                                                                                       related                           Privilege
                                                                                                       to the Examiner's report.
19              Don Liebentritt, Esq.   Mark Shaprio                                   8/15/10         Email providing legal advice      Attorney Client
                                                                                                       related to                        Privilege
                                                                                                       deal negotiations.
21              Mark Shapiro            Don Liebentritt, Esq.                          8/16/10         Email regarding legal advice      Attorney Client
                                                                                                       related                           Privilege
                                                                                                       to deal negotiations.
23              Jeff Berg               Don Liebentritt, Esq.                          8/16/10         Email regarding legal advice      Attorney Client
                                                                                                       related                           Privilege
                                                                                                       to deal negotiations
24              Don Liebentritt, Esq.   Jeff Berg                                      8/19/10         Email regarding legal advice      Attorney Client
                                                                                                       related                           Privilege
                                                                                                       to deal negotiations.
29              Mark Shapiro            Don Libentritt Esq.                            8/20/10         Email regarding legal advice      Attorney Client
                                                                                                       related                           Privilege
                                                                                                       to the formation of the special
                                                                                                       committee and the
                                                                                                       independence.
30              Don Liebentritt, Esq.   Maggie Wilderotter                             8/21/10         Email providing legal advice      Attorney Client
                                                                                                       related to                        Privilege
                                                                                                       separate counsel for the
                                                                                                       Special
                                                                                                       Committee.
31              Don Liebentritt, Esq.   Maggie Wilderotter                             8/21/10         Email providing legal advice      Attorney Client
                                                                                                       related to                        Privilege
                                                                                                       separate counsel for the
                                                                                                       Special
                                                                                                       Committee.
32              Don Liebentritt, Esq.   Maggie Wilderotter                             8/21/10         Email providing legal advice      Attorney Client
                                                                                                       related to                        Privilege
                                                                                                       separate counsel for the
                                                                                                       Special
                                                                                                       Committee.
33              Maggie Wilderotter      Don Liebentritt, Esq.                          8/21/10         Email providing legal advice      Attorney Client
                                                                                                       related to                        Privilege
                                                                                                       separate counsel for the
                                                                                                       Special
                                                                                                       Committee.
34              Maggie Wilderotter      Don Liebentritt, Esq.                          8/21/10         Email providing legal advice      Attorney Client
                                                                                                       related to                        Privilege
                                                                                                       separate counsel for the
                                                                                                       Special
                                                                                                       Committee.
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                                           Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates    Author                   Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

35               Maggie Wilderotter       Don Liebentritt, Esq.                           8/21/10        Email providing legal advice      Attorney Client
                                                                                                         related to                        Privilege
                                                                                                         separate counsel for the
                                                                                                         Special
                                                                                                         Committee.
36               Don Liebentritt, Esq.    Frank Wood; Jeff Berg;                          8/21/10        Email providing legal advice      Attorney Client
                                          Maggie Wilderotter; Mark                                       related to                        Privilege
                                          Shapiro                                                        the formation, structure, and
                                                                                                         responsibilities of the Special
                                                                                                         Committee.
37               Mark Shapiro             Don Libentritt Esq.                             8/21/10        Email regarding legal advice      Attorney Client   Attorney Client Privilege
                                                                                                         related                           Privilege
                                                                                                         to the formation, structure,
                                                                                                         and
                                                                                                         responsibilities.
38               Don Liebentritt, Esq.    Maggie Wilderotter                              8/21/10        Email regarding legal advice      Attorney Client
                                                                                                         related                           Privilege
                                                                                                         to separate counsel for the
                                                                                                         Special
                                                                                                         Committee.
39               Don Liebentritt, Esq.;   Mark Shapiro                                    8/21/10        Email regarding legal advice      Attorney Client
                 Frank                                                                                   related                           Privilege
                 Wood; Jeff Berg;                                                                        to separate counsel for the
                 Maggie                                                                                  Special
                 Wilderotter                                                                             Committee.
40               Don Liebentritt, Esq.    Mark Shapiro; Frank Wood;                       8/21/10        Email providing legal advice      Attorney Client
                                          Jeff Berg; Maggie                                              related to                        Privilege
                                          Wilderotter                                                    separate counsel for the
                                                                                                         Special
                                                                                                         Committee.
41      SCTRIB- Mark Shapiro              Don Liebentritt, Esq.; Frank                    8/21/2010      Email regarding legal advice      Attorney Client
        0001787                           Wood; Jeff Berg; Maggie                                        related                           Privilege
        SCTRIB-                           Wilderotter                                                    to the appointment of Don
        0000939                                                                                          Liebentritt
                                                                                                         as Chief Restructuring Officer
                                                                                                         and
                                                                                                         Randy Michaels' lack of
                                                                                                         independence
42               Maggie Wilderotter       Mark Shapiro; Don                               8/21/2010      Email regarding legal advice      Attorney Client
                                          Liebentritt, Esq.; Frank                                       related                           Privilege
                                          Wood; Jeff Berg                                                to separate counsel for the
                                                                                                         Special
                                                                                                         Committee.
                                                                         Case 08-13141-BLS         Doc 7718-4    Filed 02/01/11   Page 4 of 12

                                              Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates     Author                     Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

43                Maggie Wilderotter         Don Liebentritt, Esq.                                  8/21/10         Email regarding legal advice   Attorney Client
                                                                                                                    related                        Privilege
                                                                                                                    to separate counsel for the
                                                                                                                    Special
                                                                                                                    Committee.
44      SCTRIB-   1. Mark Shapiro                                          Email exchange           1. 8/21/10                                     Attorney Client   Attorney Client Privilege
        0001784   2. Maggie Wilderotter                                    providing and            2. 8/21/10                                     Privilege
        SCTRIB-   3. Mark Shapiro                                          reflecting legal         3. 8/21/10
        0000936   4. Don Liebentritt, Esq.                                 advice related to the    4. 8/21/10
                                                                           formation, structure,
                                                                           and
                                                                           responsibilities of
                                                                           the Special
                                                                           Committee.
45                Don Liebentritt, Esq       Maggie Wilderotter; Mark                               8/21/10         Email providing legal advice   Attorney Client
                                             Shapiro; Frank Wood; Jeff                                              related to                     Privilege
                                             Berg                                                                   separate counsel for the
                                                                                                                    Special
                                                                                                                    Committee.
46                Maggie Wilderotter         Don Liebentritt, Esq.; Mark                                            Email regarding legal advice   Attorney Client
                                             Shapiro; Frank Wood; Jeff                                              related                        Privilege
                                             Berg                                                                   to separate counsel for the
                                                                                                                    Special
                                                                                                                    Committee
48                Jeff Berg                  Don Liebentritt, Esq.;                                 8/21/10         Email regarding legal advice   Attorney Client
                                             Maggie Wilderotter; Mark                                               related                        Privilege
                                             Shapiro; Frank Wood                                                    to separate counsel for the
                                                                                                                    Special
                                                                                                                    Committee.
49                Frank Wood                 Jeff Berg                     Don Liebentritt,         8/21/10         Email regarding legal advice   Attorney Client
                                                                           Esq.;                                    related                        Privilege
                                                                           Maggie Wilderotter;                      to separate counsel for the
                                                                           Mark Shapiro                             Special
                                                                                                                    Committee.
50                Jeff Berg                  Frank Wood                    Don Liebentritt,         8/21/10         Email regarding legal advice   Attorney Client
                                                                           Esq.;                                    related                        Privilege
                                                                           Maggie Wilderotter;                      to separate counsel for the
                                                                           Mark Shapiro                             Special
                                                                                                                    Committee.
51                Maggie Wilderotter         Jeff Berg; Frank Wood         Don Liebentritt,         8/22/10         Email regarding legal advice   Attorney Client
                                                                           Esq.; Mark                               related                        Privilege
                                                                           Shapiro                                  to separate counsel for the
                                                                                                                    Special
                                                                                                                    Committee.
                                                                         Case 08-13141-BLS      Doc 7718-4    Filed 02/01/11    Page 5 of 12

                                              Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
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        No.

52                Frank Wood                 Maggie Wilderotter            Jeff Berg; Don        8/22/10         Email regarding legal advice      Attorney Client
                                                                           Liebentritt,                          related                           Privilege
                                                                           Esq.; Mark Shapiro                    to separate counsel for the
                                                                                                                 Special
                                                                                                                 Committee.
54                Maggie Wilderotter         Don Libentritt Esq.                                 8/22/10         Email regarding legal advice      Attorney Client
                                                                                                                 related                           Privilege
                                                                                                                 to separate counsel for the
                                                                                                                 Special
                                                                                                                 Committee.
55                1. Maggie Wilderotter      1. Don Liebentritt, Esq.                            1. 8/22/10      Emails providing and              Attorney Client
                  2. Don Liebentritt, Esq.   2. Maggie Wilderotter                               2. 8/22/10      regarding legal                   Privilege
                                                                                                                 advice related to separate
                                                                                                                 counsel for
                                                                                                                 the Special Committee
56                Don Liebentritt, Esq       Frank Wood; Jeff Berg;                              8/22/10         Email providing legal advice      Attorney Client
                                             Maggie Wilderotter; Mark                                            related to                        Privilege
                                             Shapiro                                                             the agenda of the Special
                                                                                                                 Committee
                                                                                                                 and Special Committee
                                                                                                                 representation.
57      SCTRIB- 1. Maggie Wilderotter        1. Don Liebentritt, Esq.;                           1. 8/22/10      Email exchange providing          Attorney Client   Attorney Client Privilege
        0000931 2. Don Liebentritt, Esq.     Frank Wood; Jeff Berg;                              2. 8/22/10      and                               Privilege
        SCTRIB-                              Mark Shapiro                                                        reflecting legal advice related
        0000927                              2. Frank Wood; Jeff Berg;                                           to the
        SCTRIB-                              Maggie Wilderotter; Mark                                            agenda of the Special
        0001780                              Shapiro                                                             Committee and
        SCTRIB-                                                                                                  Special Committee
        0000923                                                                                                  representation
        SCTRIB-
        0001776
        SCTRIB-
        0001772
58              1. Maggie Wilderotter        1. Don Liebentritt, Esq.;                           1. 8/23/10      Emails providing and              Attorney Client
                                                                                                                 regarding legal                   Privilege
                                                                                                                 advice related to separate        Common Interest
                                                                                                                 counsel for                       Privilege
                                                                                                                 the Special Committee.
61                Maggie Wilderotter         Don Liebentritt, Esq                                                Email regarding legal advice      Attorney Client
                                                                                                                 related                           Privilege
                                                                                                                 to separate counsel for the       Common Interest
                                                                                                                 Special                           Privilege
                                                                                                                 Committee.
                                                                      Case 08-13141-BLS       Doc 7718-4    Filed 02/01/11   Page 6 of 12

                                           Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates   Author                    Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

62              1. Maggie Wilderotter     1. Don Liebentritt, Esq.                             1. 8/23/10      Emails providing and             Attorney Client
                2. Don Liebentritt, Esq   2. Maggie Wilderotter                                2. 8/23/10      regarding legal                  Privilege
                                                                                                               advice related to D&O
                                                                                                               insurance
                                                                                                               coverage for the special
                                                                                                               committee.
126             Don Liebentritt, Esq.     Jeff Berg                                            9/3/10          Email regarding legal advice     Attorney Client
                                                                                                               related                          Privilege
                                                                                                               to mediation.
127             Don Liebentritt, Esq.     Jeff Berg                                            9/3/10          Email regarding legal advice     Attorney Client
                                                                                                               related                          Privilege
                                                                                                               to mediation
165             2. Maggie Wilderotter     2. Don Liebentritt, Esq.;                            2. 9/20/10      Emails requesting and            Attorney Client
                                          Frank Wood; Jeff Berg;                                               providing legal                  Privilege
                                          Mark Shapiro                                                         advice regarding strategy        Common Interest
                                                                                                               related to                       Privilege
                                                                                                               mediation and plan drafting
                                                                                                               and
                                                                                                               negotiations.
168             Don Libentritt Esq.       Jeff Berg                                            9/22/10         Email responding to request      Attorney Client
                                                                                                               for                              Privilege
                                                                                                               information regarding ESOP
                                                                                                               LBO
                                                                                                               intended to facilitate the
                                                                                                               provision of
                                                                                                               legal advice.
173             Don Liebentritt, Esq.     Jeff Berg                                            9/23/10         Email providing legal analysis   Attorney Client
                                                                                                               and                              Privilege
                                                                                                               attorney impressions of
                                                                                                               available plan
                                                                                                               alternatives and financing
                                                                                                               related to
                                                                                                               the plan.
178             Don Liebentritt, Esq.     Mark Shapiro                  David Heiman,          9/25/10         Email regarding the strategy     Attorney Client
                                                                        Esq.; James                            for                              Privilege
                                                                        Conlan, Esq.; David                    managing the case and            Common Interest
                                                                        Kurtz;                                 providing                        Privilege
                                                                        James Bendernagel,                     legal advice regarding
                                                                        Esq.                                   strategic
                                                                                                               alternatives.
180             Don Libentritt Esq.       Mark Shapiro                                         9/25/10         Email regarding the strategy     Attorney Client
                                                                                                               for                              Privilege
                                                                                                               managing the case with regard    Common Interest
                                                                                                               to                               Privilege
                                                                                                               negotiation positions.
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                                            Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates     Author                   Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

181               Mark Shapiro             Don Libentritt Esq.                            9/25/10         Email regarding the strategy      Attorney Client   Attorney Client Privilege
                                                                                                          for                               Privilege         Common Interest Privilege
                                                                                                          managing the case with regard     Common Interest
                                                                                                          to                                Privilege
                                                                                                          negotiation positions.
211               Don Libentritt Esq.      Mark Shapiro                                   9/29/10         Emails reflecting legal advice    Attorney Client   Attorney Client Privilege
                                                                                                          related                           Privilege         Work Product
                                                                                                          to strategy regarding the         Work Product      Common Interest
                                                                                                          Management                        Common Interest
                                                                                                          Incentive Plan hearing            Privilege
212               Mark Shapiro             Don Libentritt Esq.                            9/29/10         Emails reflecting legal advice    Attorney Client   Attorney Client Privilege
                                                                                                          related                           Privilege         Work Product
                                                                                                          to strategy regarding the         Work Product      Common Interest
                                                                                                          Management                        Common Interest   Privilege
                                                                                                          Incentive Plan hearing.           Privilege
220     SCTRIB- Don Liebentritt, Esq.      Mark Shapiro                                   9/30/10         Email reflecting attorney         Attorney Client   Attorney Client Privilege
        0001438                                                                                           impressions                       Privilege         Common Interest
                                                                                                          and analysis regarding            Common Interest   Privilege
                                                                                                          strategy for                      Privilege
                                                                                                          settlement and plan
                                                                                                          negotiations.
223               Don Liebentritt, Esq.    Mark Shapiro                                   9/30/10         Email reflecting attorney         Attorney Client
                                                                                                          impressions                       Privilege
                                                                                                          and work product regarding        Common Interest
                                                                                                          plan                              Privilege
                                                                                                          negotiations.
228               Don Liebentritt, Esq.    Mark Shapiro                                   10/1/10         Email reflecting attorney         Attorney Client
                                                                                                          work product                      Privilege
                                                                                                          and analysis related to plan
                                                                                                          negotiations and negotiations
                                                                                                          with
                                                                                                          specific parties regarding
                                                                                                          settlement.
232     SCTRIB- 3. Don Liebentritt, Esq.   3. Mark Shapiro                                3. 10/1/10      Email reflecting work product     Attorney Client   Attorney Client Privilege
        0000126                                                                                           and                               Privilege         Common Interest
        SCTRIB-                                                                                           analysis intended to facilitate   Common Interest   Privilege
        0000121                                                                                           legal                             Privilege
                                                                                                          advice and attorney work
                                                                                                          product
                                                                                                          related to plan negotiations
                                                                                                          and
                                                                                                          negotiations with specific
                                                                                                          parties
                                                                                                          regarding settlement.
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                                            Revised and Supplemental Privilege Log of the Special Committee of the Board of Directors of Tribune Corporation
Doc #   Bates   Author                     Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

255             1. Don Liebentritt, Esq.   1. Mark Shapiro                                 1. 10/1/10       Email exchange reflecting        Attorney Client
                2. Mark Shapiro            2. Don Liebentritt, Esq.                        2. 10/1/10       attorney                         Privilege
                                                                                                            impressions and work product     Common Interest
                                                                                                            related                          Privilege
                                                                                                            to discussions with Oak Tree.
269             1. Don Liebentritt, Esq.   1. Mark Shapiro                                 1. 10/2/10       Emails attaching, requesting     Attorney Client
                                                                                                            and                              Privilege
                                                                                                            providing legal advice and       Work Product
                                                                                                            direction to                     Common Interest
                                                                                                            counsel related to the draft     Privilege
                                                                                                            disclosure
                                                                                                            statement and the
                                                                                                            management
                                                                                                            incentive plan hearing.
283             Don Liebentritt, Esq.      Mark Shapiro                                    10/4/10          Email reflecting legal advice    Attorney Client
                                                                                                            related to                       Privilege
                                                                                                            the draft disclosure statement
                                                                                                            and the
                                                                                                            management incentive plan.
351             Maggie Wilderotter         Don Liebentritt, Esq.                           10/19/10         Email regarding attorney         Attorney Client
                                                                                                            impressions                      Privilege
                                                                                                            related to the hearing           Common Interest
                                                                                                            regarding the                    Privilege
                                                                                                            Trustee Motion                   Work Product
361             1. Don Liebentritt, Esq    1. Mark Shapiro                                 1. 10/21/10      Emails regarding and             Attorney Client
                                                                                                            forwarding legal                 Privilege
                                                                                                            advice related to discussions    Common Interest
                                                                                                            with Oak                         Privilege
                                                                                                            Tree related to
                                                                                                            TMIP/KOB/Transition
                                                                                                            Comp.
363             Maggie Wilderotter         Don Liebentritt, Esq.        Mark Shapiro       10/23/10         Email requesting legal advice    Attorney Client
                                                                                                            regarding the filing of the      Privilege
                                                                                                            plan of                          Common Interest
                                                                                                            reorganization and the trustee   Privilege
                                                                                                            motion.
365             Maggie Wilderotter         Don Liebentritt, Esq.                           10/24/10         Email requesting legal advice    Attorney Client
                                                                                                            related                          Privilege
                                                                                                            to the filing of the plan of     Work Product
                                                                                                            reorganization, the standing
                                                                                                            motions
                                                                                                            and the trustee motion.
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Doc #   Bates   Author                   Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

372             Maggie Wilderotter       Don Liebentritt, Esq.                            10/30/10        Email regarding attorney         Attorney Client
                                                                                                          impressions                      Privilege
                                                                                                          related to the filing of         Work Product
                                                                                                          competing plans
                                                                                                          and disclosure statements.
392             Maggie Wilderotter       Don Liebentritt, Esq.                            11/23/10        Email regarding attorney         Attorney Client
                                                                                                          impressions                      Privilege
                                                                                                          related to the confirmation      Work Product
                                                                                                          and
                                                                                                          disclosure statement hearings.
414             Maggie Wilderotter       Don Liebentritt, Esq.                            12/10/10        Email regarding legal advice     Attorney Client
                                                                                                          related                          Privilege
                                                                                                          to preference actions filed by   Common Interest
                                                                                                          the                              Privilege
                                                                                                          UCC.                             Work Product
416             Maggie Wilderotter       Don Liebentritt, Esq.                            12/15/10        Email reflecting attorney        Attorney Client
                                                                                                          impressions                      Privilege
                                                                                                          related to the Step 1 Only       Common Interest
                                                                                                          Credit                           Privilege
                                                                                                          Agreement Lenders plan and       Work Product
                                                                                                          discovery.
423             1. Maggie Wilderotter;   1. Don Liebentritt, Esq.;                        1. 4/6/10       Email reflecting attorney        Attorney Client
                                                                                                          advice and                       Privilege
                                                                                                          work product of status of        Common Interest
                                                                                                          settlement                       Privilege
                                                                                                          negotiations.                    Work Product
424             1. Maggie Wilderotter;   1. Don Liebentritt, Esq.;                        1. 4/1/10       Email reflecting attorney        Attorney Client
                                                                                                          advice and                       Privilege
                                                                                                          work product of status of        Common Interest
                                                                                                          settlement                       Privilege
                                                                                                          negotiations.                    Work Product
425             1. Maggie Wilderotter;   1. Don Liebentritt, Esq.;                        1. 3/31/10      Email reflecting attorney        Attorney Client
                                                                                                          impressions                      Privilege
                                                                                                          of status of settlement          Common Interest
                                                                                                          negotiations.                    Privilege
                                                                                                                                           Work Product
427             1. Maggie Wilderotter;   1. Don Liebentritt, Esq.;                        1. 3/17/10      Email reflecting legal advice    Attorney Client
                                                                                                          and                              Privilege
                                                                                                          analysis regarding settlement    Common Interest
                                                                                                          discussions, filing of claims,   Privilege
                                                                                                          and the                          Work Product
                                                                                                          impact of these issues on the
                                                                                                          overall
                                                                                                          plan.
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Doc #   Bates    Author                     Sent to                   CC                    Sent Date      Subject                         Priv. Type         Redacted
        No.

444              1. Frank Wood              1. Don Liebentritt, Esq.                        1. 8/16/10      Email reflecting legal advice    Attorney Client
                                                                                                            related to                       Privilege
                                                                                                            deal negotiations involving JP
                                                                                                            Morgan, Angelo Gorden and
                                                                                                            Oak
                                                                                                            Tree.
445              1. Don Liebentritt, Esq.   1. Frank Wood                                   1. 8/20/10      1. Frank Wood                    Attorney Client
                 2. Frank Wood              2. Don Liebentritt, Esq.                        2. 8/19/10      2. Don Liebentritt, Esq.         Privilege
446              1. Don Liebentritt, Esq.   1. Frank Wood                                   1. 8/22/10      Email exchange requesting        Attorney Client
                 2. Frank Wood              2. Don Liebentritt, Esq                         2. 8/21/10      and                              Privilege
                                                                                                            providing legal advice related
                                                                                                            to
                                                                                                            separate counsel for the
                                                                                                            Special
                                                                                                            Committee.
449     SCTRIB- 1. Frank Wood               1. Don Liebentritt, Esq.                        1. 8/26/10      Email regarding attorney         Email regarding   Attorney Client Privilege
        0001842                                                                                             impressions                      attorney
                                                                                                            related to bankruptcy and        impressions
                                                                                                            mediation                        related to
                                                                                                            developments.                    bankruptcy and
                                                                                                                                             mediation
                                                                                                                                             developments.
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                                                             Tribune's Privilege Log of Don Liebentritt Electronic Documents - January 19, 2011
Doc #   # of Attach   Author               Sent to            CC             Sent Date        Subject                        Priv Type            Reason for Withholding

480     0             Mark Shapiro         Don Liebentritt                   8/16/10          HIGHLY CONFIDENTIAL            Attorney-Client/     This email string discusses legal advice received from Don
                                                                                              AND PRIVILEGED                 Work Product         Liebentritt and Sidley Austin regarding analysis of Plan terms and
                                                                                                                                                  analysis of potential LBO related causes of action.

481     0             Frank Wood           Don Liebentritt                   8/16/10          Tribune                        Attorney-Client      This email string discusses legal advice received
                                                                                                                                                  from Don Liebentritt regarding analysis of Plan
                                                                                                                                                  terms.

544     0             Don Liebentritt      Maggie                            8/21/10          Counsel for the                Attorney-Client      This email string provides legal advice regarding
                                           Wilderotter                                        Independent Directors                               retention agreements.

545     0             Don Liebentritt      Maggie                            8/21/10          Counsel for the                Attorney-Client      This email string provides legal advice regarding
                                           Wilderotter                                        Independent Directors                               retention agreements.

546     0             Maggie Wilderotter   Don Liebentritt                   8/21/10          Counsel for the                Attorney-Client      This email string discusses legal advice received
                                                                                              Independent Directors                               from Don Liebentritt regarding retention
                                                                                                                                                  agreements.

547     0             Don Liebentritt      Maggie                            8/21/10          Counsel for the                Attorney             This email string discusses legal advice received
                                           Wilderotter                                        Independent Directors                               from Don Liebentritt regarding retention
                                                                                                                                                  agreements.

548     0             Maggie Wilderotter   Don Liebentritt                   8/21/10          Counsel for the                Attorney             This email string discusses legal advice received
                                                                                              Independent Directors                               from Don Liebentritt regarding retention
                                                                                                                                                  agreements.

549     0             Maggie Wilderotter   Don Liebentritt                   8/21/10          Counsel for the                Attorney             This email string discusses legal advice received
                                                                                              Independent Directors                               from Don Liebentritt regarding retention
                                                                                                                                                  agreements.

550     0             Maggie Wilderotter   Don Liebentritt                   8/21/10          Counsel for the                Attorney             This email requests legal advice regarding retention
                                                                                              Independent Directors                               agreements.

557     0             Maggie Wilderotter   Don Liebentritt                   8/22/10          Chapter 11                     Attorney-Client      This email string discusses legal advice received
                                                                                                                                                  from Don Liebentritt regarding analysis of Plan
                                                                                                                                                  terms and corporate governance.

574     0             Mark Shapiro         Don Liebentritt    Maggie         8/23/10          Special committee fees         Attorney-Client      This email requests legal advice regarding retention agreements.
                                                              Wilderotter;
                                                              Jeff Berg
805     0             Mark Shapiro         Don Liebentritt                   9/25/10          Morgan Stanley                 Attorney-Client/     This email string discusses legal advice received from Jones Day
                                                                                                                             Work Product         and Sidley Austin regarding analysis of Plan terms.

837     0             Don Liebentritt      Mark Shapiro                      10/1/10          Today                          Attorney-Client/     This email provides legal advice regarding analysis
                                                                                                                             Work Product         of Plan terms.

870     0             Don Liebentritt      Mark Shapiro                      10/2/10          Revised Disclosure             Attorney-Client/     This email string discusses legal advice received from Kerriann S.
                                                                                              Statement                      Work Product         Mills regarding analysis of disclosure statements, draft disclosure
                                                                                                                                                  statements, and the management incentive plan.
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                                                          Tribune's Privilege Log of Don Liebentritt Electronic Documents - January 19, 2011
Doc #   # of Attach   Author            Sent to            CC           Sent Date          Subject                      Priv Type              Reason for Withholding

885     0             Don Liebentritt   Mark Shapiro                    10/4/10            Revised Disclosure           Attorney-Client/       This email string provides information regarding work performed
                                                                                           Statement                    Work Product           at the request of Dave Eldersveld and Kerriann S. Mills regarding
                                                                                                                                               analysis of disclosure statements, draft disclosure statements, and
                                                                                                                                               the management incentive plan.

892     0             Don Liebentritt   Mark Shapiro                    10/5/10            Mgmt. Trans Plan             Attorney-Client/       This email string provides legal advice regarding the
                                                                                                                        Work Product           Management Transition Plan.

894     0             Mark Shapiro      Don Liebentritt                 10/5/10            Mgmt. Trans Plan             Attorney-Client/       This email string provides legal advice regarding the
                                                                                                                        Work Product           Management Transition Plan.

995     0             Mark Shapiro      Don Liebentritt                 10/15/10           Special Committee            Attorney-Client/       This email string forwards legal advice received
                                                                                                                        Common Interest        from David Heiman regarding corporate
                                                                                                                                               governance.

1096    0             Don Liebentritt   Mark Shapiro                    10/21/10           Further Update               Attorney-Client/       This email string forwards legal advice received
                                                                                                                        Work Product           from Jessica Boelter regarding analysis of Plan
                                                                                                                                               terms.
